Case 2:15-cv-04536-R-GJS Document 31 Filed 08/28/15 Page 1 of 22 Page ID #:969
Case 2:15-cv-04536-R-GJS Document 31 Filed 08/28/15 Page 2 of 22 Page ID #:970
Case 2:15-cv-04536-R-GJS Document 31 Filed 08/28/15 Page 3 of 22 Page ID #:971
Case 2:15-cv-04536-R-GJS Document 31 Filed 08/28/15 Page 4 of 22 Page ID #:972
Case 2:15-cv-04536-R-GJS Document 31 Filed 08/28/15 Page 5 of 22 Page ID #:973
Case 2:15-cv-04536-R-GJS Document 31 Filed 08/28/15 Page 6 of 22 Page ID #:974
Case 2:15-cv-04536-R-GJS Document 31 Filed 08/28/15 Page 7 of 22 Page ID #:975
Case 2:15-cv-04536-R-GJS Document 31 Filed 08/28/15 Page 8 of 22 Page ID #:976
Case 2:15-cv-04536-R-GJS Document 31 Filed 08/28/15 Page 9 of 22 Page ID #:977
Case 2:15-cv-04536-R-GJS Document 31 Filed 08/28/15 Page 10 of 22 Page ID #:978
Case 2:15-cv-04536-R-GJS Document 31 Filed 08/28/15 Page 11 of 22 Page ID #:979
Case 2:15-cv-04536-R-GJS Document 31 Filed 08/28/15 Page 12 of 22 Page ID #:980
Case 2:15-cv-04536-R-GJS Document 31 Filed 08/28/15 Page 13 of 22 Page ID #:981
Case 2:15-cv-04536-R-GJS Document 31 Filed 08/28/15 Page 14 of 22 Page ID #:982
Case 2:15-cv-04536-R-GJS Document 31 Filed 08/28/15 Page 15 of 22 Page ID #:983
Case 2:15-cv-04536-R-GJS Document 31 Filed 08/28/15 Page 16 of 22 Page ID #:984
Case 2:15-cv-04536-R-GJS Document 31 Filed 08/28/15 Page 17 of 22 Page ID #:985
Case 2:15-cv-04536-R-GJS Document 31 Filed 08/28/15 Page 18 of 22 Page ID #:986
Case 2:15-cv-04536-R-GJS Document 31 Filed 08/28/15 Page 19 of 22 Page ID #:987




                                                               2:15-cv-04356-MMM-GJS
Case 2:15-cv-04536-R-GJS Document 31 Filed 08/28/15 Page 20 of 22 Page ID #:988
Case 2:15-cv-04536-R-GJS Document 31 Filed 08/28/15 Page 21 of 22 Page ID #:989




                                                                2:15-cv-04356-MMM-GJS
Case 2:15-cv-04536-R-GJS Document 31 Filed 08/28/15 Page 22 of 22 Page ID #:990
